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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

TRUSTEES of the CHICAGO REGIONAL COUNCIL                 )
OF CARPENTERS PENSION FUND, CHICAGO                      )
REGIONAL COUNCIL OF CARPENTERS                           )
SUPPLEMENTAL RETIREMENT FUND, CHICAGO                    )
REGIONAL COUNCIL of CARPENTERS                           )
WELFARE FUND, and CHICAGO REGIONAL                       )
COUNCIL OF CARPENTERS APPRENTICE and                     )
TRAINING PROGRAM,                                        )      CIVIL ACTION
                           Plaintiffs,                   )
                                                         )
       v.                                                )
                                                         )
C&S CARPENTRY, LLC and DAVID CAMPBELL,                   )
                                                         )
                                    Defendants.          )

                                      COMPLAINT
       Plaintiffs, Trustees of the Chicago Regional Council of Carpenters Pension Fund,
et al., by their attorney, Daniel P. McAnally, complain of the Defendants, C&S
Carpentry, LLC and David Campbell, as follows:

       1.     This action arises under Section 502 of the Employee Retirement Income
Security Act, ERISA, 29 U.S.C. §1132, Section 301(a) of the Labor Management
Relations Act of 1947, as amended 29 U.S.C. § 185(a) and the Illinois Wage Payment and
Collection Act. 820 ILCS 115/1, et seq, Jurisdiction is founded on the existence of
questions arising there under and 28 U.S.C. §1367.

       2.     The Plaintiffs ("Trust Funds") receive contributions from numerous
employers pursuant to Collective Bargaining Agreements between the employers and
the Chicago Regional Council of Carpenters, ("Union"), and therefore, are
multiemployer plans (29 U.S.C. §1002). The Trust Funds are the authorized collection
agent for the Union. The Trust Funds are administered at 12 East Erie Street, Chicago,
Illinois and venue is proper in the Northern District of Illinois.
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      3.     C&S Carpentry, LLC is an employer engaged in an industry affecting
commerce which entered into agreements which require it to pay fringe benefit
contributions to the Trust Funds and to remit dues deducted from the employees' wages.

      4.     Delinquent employers are required to pay, in addition to the amounts
determined to be due, reasonable attorney fees, court costs, audit fees and other
reasonable costs incurred in the collection process.

      5.     C&S Carpentry, LLC must submit monthly reports listing the hours
worked by its carpenter employees ("contribution reports") and to make concurrent
payment of contributions and dues to the Trust Funds based upon the hours worked by
its carpenter employees.

      6.     The Defendants breached the Collective Bargaining Agreement and Trust
Agreements by: a) failing to submit the contribution reports and paying the dues and
fringe benefit contributions for the period July 2019 through present and, b) failing to
pay liquidated damages on previously paid amounts.

      7.     At all times material herein, there was in effect the Illinois Wage Payment
and Collection Act ("Wage Act"), 820 ILCS 115/1, et seq. David Campbell is an officer of
C&S Carpentry, LLC and knowingly permitted and willfully refused to remit dues on
behalf of its employees in violation of the Wage Act, 820 ILCS 115/14.

      8.     Section 13 of the Wage Act provides that "any officers of a corporation or
agents of an employer who knowingly permit such employer to violate the provisions of
this Act shall be deemed to be the employers of the employees of the corporation, 820
ILCS 115/13. Thus, Defendant, David Campbell, is an employer within the meaning of
the Wage Act. Defendant deducted dues from the employees wages and failed to remit
the money to the Plaintiffs. The dues are wages as defined by Section 2 of the Illinois
Wage and Payment Collection Act, which have been assigned by the carpenter
employees to the Union, 820 ILCS 115/2. This Court has jurisdiction over this claim
pursuant to 28 U.S.C. §1367.



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       9.     Plaintiffs have complied with all conditions precedent in bringing this suit.

       10.    Plaintiffs have been required to employ the undersigned attorneys to
collect the monies that may be found to be due and owing from Defendants.

       11.    Defendants are obligated to pay the attorney fees and court costs incurred
by the Plaintiffs pursuant to 29 U.S.C. §1132(g)(2)(D).

       12.    Pursuant to 29 U.S.C. §1132(g)(2)(B), the Plaintiffs are entitled to interest
on any monies that may be found to be due and owing from the Defendants.

       13.    Pursuant to 29 U.S.C. §1132(g)(2)(C), Plaintiffs are entitled to an amount
equal to the greater of:

              a)     double interest on the unpaid contributions; or

              b)     interest plus liquidated damages provided for under the
                     Trust Agreements not in excess of 20% of amount that is
                     due.
       14.    Pursuant to the Trust Agreements, Plaintiffs are entitled to liquidated
damages at the rate of 1.5% compounded monthly.


WHEREFORE, Plaintiffs pray:

       a)     That the Defendants be ordered to submit the contribution reports and
              pay contributions and dues checkoff for the months July 2019 through
              present.


       b)     That C&S Carpentry, LLC be ordered to pay liquidated damages pursuant
              to the Trust Agreements.


       c)     That C&S Carpentry, LLC be ordered to pay interest on the amount that is
              due pursuant to 29 U.S.C. §1132 (g)(2)(B).


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      d)     That C&S Carpentry, LLC be ordered to pay interest or liquidated damages
             on the amount that is due pursuant to 29 U.S.C. §1132 (g)(2)(C).


      e)     That C&S Carpentry, LLC be ordered to pay the reasonable attorney's fees
             and costs incurred by the Plaintiffs pursuant to the Trust Agreements and
             29 U.S.C. §1132 (g)(2)(D).


      f)     That David Campbell be ordered to pay the dues amount that
             Defendants deducted from the employees' wages.


      g)     That Plaintiffs have such other and further relief as by the Court may be
             deemed just and equitable all at the Defendants' costs pursuant to 29
             U.S.C. §1132(g)(2)(E).



                                 By:    s/ Daniel P. McAnally

                                        Attorney for Plaintiffs




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